                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              BRYSON CITY DIVISION
                                    2:14 po 03-2


UNITED STATES OF AMERICA,                            )
                                                     )
Vs.                                                  )              ORDER
                                                     )
JERRY FRANCIS PARKER,                                )
                                                     )
                  Defendant.                         )
____________________________________                 )


       THE UNDERSIGNED, after conducting a hearing on June 11, 2014, and hearing

arguments from Russell L. McLean, III, counsel for Defendant, and David Thorneloe, Assistant

United States Attorney as attorney for the Government, enters the following Scheduling Order in

this matter.

                                            ORDER

       IT IS, THEREFORE, ORDERED that the Government or the Defendant shall have

until July 1, 2014 to file any pretrial motions, along with a supporting brief.   The responding

parties shall have up to July 14, 2014 to respond to the motion, and the filing party shall have up

to and including July 21, 2014 to file a reply brief. The trial in this matter is hereby set for

October 16, 2014 at 9:30 a.m. in Courtroom #2 of the United States Courthouse in Asheville,

North Carolina.


                                            Signed: June 19, 2014




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